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                                  U.S. BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                        Orlando Division


In re:

EXCELETECH COATING AND                                                 Chapter 11
APPLICATIONS, LLC,                                                     Case No. 6:18-bk-00263-KSJ
                                                                       Hon. Karen S. Jennemann
          Debtor.
                                                     /


                    RE-NOTICE OF BR RULE 2004 EXAMINATION
                         OF DEBTOR’S REPESENTATIVES

          The International Painters and Allied Trades Fringe Benefit Funds1 (the

“National Funds”) and Southern Painters District Council 78 Fringe Benefit Funds2

(the “Local Funds”) (hereinafter, collectively, the “Funds”), by and through their

undersigned counsel, request that Debtor, Exceletech Coating and Application,

LLC produce and deliver on or before Friday, May 11, 2018, to Craig E. Zucker,

at the law offices of Maddin, Hauser, Roth & Heller, P.C. (“Maddin Hauser”),

28400 Northwestern Hwy., 2nd Floor, Southfield, Michigan 48034, all of the

documents          set     forth      on      Exhibit        A      hereto       via     electronic         means

(czucker@maddinhauser.com), to the extent that those documents have not been

1
  The International Painters and Allied Trades Fringe Benefit Funds consist of: the International Painters and Allied
Trades Industry Pension Fund, the Finishing Trades Institute, the Political Action Together Fund and the Painters
and Allied Trades Labor Management Cooperation Initiative.
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  The Southern Painters District Council 78 Fringe Benefit Funds consist of: the Southern Painters Welfare Fund and
the District Council 78 Finishing Trades Institute.


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already previously produced. In addition, all payroll documents referenced as Item

No. 6 on attached Exhibit A shall also be produced via electronic means to auditors

for the Funds, Novak Francella, LLC, Certified Public Accountants, One

Presidential Blvd., Ste. 330, Bala Cynwyd, PA 19004, Attn: Jacquelyn K. Coyle,

via e-mail to: jcoyle@novakfrancella.com (telephone number 610-668-9400,

extension 114), also to the extent that same has not been already previously

produced. The payroll information shall likewise be produced to fund auditors on

or before Friday, May 11, 2018.

      The Funds also request that Debtor, by and through its designated

representatives,   Lawrence     Muzia       and      Donna         Painter   (“Designated

Representatives”) appear at 10:00 a.m., Wednesday, May 16, 2018 at the law

offices of Ogletree, Deakins, Nash, Smoak & Stewart, P.C., 100 North Tampa St.,

Suite 3600, Tampa, Florida 33602, for an examination under oath pursuant to

Bankruptcy Rule 2004. The examination will be taken under oath and transcribed

by a court reporter.

      This request for production of documents and examination is pursuant to

Bankruptcy Rule 2004, Federal Rules of Bankruptcy Procedure, and Local Rule

2004-1, Bankruptcy Rules for the United States Bankruptcy Court for the Southern

District of Florida. The scope of the request is as described in Bankruptcy Rule

2004. Pursuant to Local Rule 2004-1, no order shall be necessary.

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                       Respectfully submitted,

                       SUGARMAN & SUSSKIND, P.C.

                             /s/ D. Marcus Braswell, Jr.
                       D. Marcus Braswell, Jr.
                       Local Counsel for the Funds
                       100 Miracle Mile, Ste. 300
                       Coral Gables, FL 33134
                       (305) 529-2801
                       (MBraswell@sugarmansusskind.com)


                       MADDIN HAUSER ROTH & HELLER, P.C.

                         /s/ Craig E. Zucker
                       CRAIG E. ZUCKER (P39907)
                       Counsel for the Funds
                       28400 Northwestern Hwy., 2nd Floor
                       Southfield, MI 48034
                       (248) 359-7522
                       czucker@maddinhauser.com

DATED: May 8, 2018
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                                       EXHIBIT A

      Documents related to Exceletech Coating and Applications, LLC (“Debtor”)

to be produced via electronic means in accordance with the instructions contained

in the Re-Notice of BR 2004 Examination on or before Friday, May 11, 2018:

      1.     Federal and state tax returns for calendar years 2014 through 2017.

      2.     All canceled checks, check registers, bank statements and general

ledgers for the three years immediately preceding the filing of this Chapter 11

bankruptcy in connection with all bank accounts maintained by Debtor so as to

reveal all receipts and disbursements of Debtor for the time period stated herein.

      3.     All vehicle titles and titles to rolling stock concerning any and all

owned or titled in the name of the Debtor.

      4.     Any and all titles to real estate titled in the name of Debtor or in

which Debtor holds an interest.

      5.     All accounts receivable ledgers and accounts payable ledgers for the

time period January 1, 2015 through current date.

      6.     All payroll records of Debtor for any and all of Debtor’s employees,

including, but not limited to, any and all employees leased by Debtor through any

and all employee leasing entities and/or temporary employee leasing agencies or

entities (hereinafter, collectively, “Employees”) evidencing any and all hours

worked and hours paid to all Employees of Debtor performing covered work under

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the CBA which are necessary for the Funds to determine the amount of Debtor’s

indebtedness to the Funds for the time period January 1, 2015 to the current date.

The payroll records shall include, but are not necessarily limited to, payroll

journals, payroll ledgers, paycheck stubs, time cards, trade classifications for each

and every Employee, IRS form W-2’s, 1099’s, W-3’s, 940’s and 941’s, canceled

paychecks and itemized payroll records.

      7.      Any and all records concerning any and all secured creditors,

including, but not limited to, loan documents, security agreements, UCC-1

financing statements and documents in support of any and all outstanding loan

balances.

      8.      Any and all documents in connection with any loans by and between

any insider (as that term is defined under the Bankruptcy Code) of Debtor and the

Debtor, including evidence of consideration paid, promissory notes, and any and

all payments in connection with any such loans.

      9.      A current list of all jobs-in-progress and a current list of all

prospective bids for future work to be performed by contract name, location, and

amount.

      10.     All of Debtor’s balance sheets, profit and loss statements, and income

statements for the time period 2014 forward.



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